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   13
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   14
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15
   16 VANESSA BRYANT,                               Case No. 2:20-cv-09582-JFW-E
                                                    (Consolidated with 2:20-cv-10844-
   17              Plaintiff,                       JFW-E)
   18        vs.                                    JOINT STATEMENT REGARDING
                                                    OPENING STATEMENTS
   19 COUNTY OF LOS ANGELES, et al.,
   20              Defendants.                      Trial Date: August 10, 2022
   21                                               The Honorable John F. Walter
   22 CHRISTOPHER L. CHESTER,
   23              PLAINTIFF,
   24        vs.
   25
        COUNTY OF LOS ANGELES, et al.,
   26
                   Defendants.
   27
   28

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    1        Pursuant to the Court’s order during the status conference on August 5, 2022,
    2 Plaintiffs Vanessa Bryant and Christopher Chester (“Plaintiffs”) and Defendants
    3 jointly submit this brief regarding objections to the demonstrative slides that each
    4 side anticipates using in its opening statement. Copies of the disputed slides
    5 referenced in this briefing are attached to the Declaration of Craig Jennings Lavoie,
    6 filed concurrently with this brief.
    7 I.     PLAINTIFFS’ OPENING STATEMENTS
    8        A.     Bryant Opening Slides 4-6
    9 Defendants’ Objection:
   10        Slides 4-6 excerpt various portions of Deputy Fire Chief William McCloud’s
   11 deposition during which he was asked questions about the discipline letters issued to
   12 Captains Jordan, Imbrenda, and Kahan (Trial Exhibits 26-28). The Court denied in
   13 part Plaintiff motion in limine no. 5 and ruled that the LACFD discipline letters
   14 were inadmissible under Federal Rule of Evidence 407. (See Dkt. 375; Aug. 5, 2022
   15 Hearing Tr. at 83:11-87:5 (“[T]he Court concluded that the letters should be
   16 excluded under Federal Rule of Evidence 407.”).) The slides likewise should be
   17 excluded as inadmissible under Rule 407.
   18        Chief McCloud is the head of the disciplinary arm of LACFD. He did not
   19 respond to the January 26, 2020 crash. His only role in connection with the incident
   20 was discipline. That is why he was designated to testify as the Department’s
   21 30(b)(6) witness on topics directly related to LACFD’s investigation and discipline,
   22 including Topic No. 14: “Any discipline or contemplated discipline of FIRE
   23 DEPARTMENT PERSONNEL related to taking, obtaining, possessing, using,
   24 and/or SHARING PHOTOS of the ACCIDENT SCENE or VICTIMS’ REMAINS.”
   25 (Plaintiff Bryant’s Notice of 30(b)(6) Deposition to LACFD at 7.) Plaintiffs never
   26 deposed Chief McCloud in his personal capacity.
   27        During the deposition, Plaintiffs’ counsel introduced the discipline letters as
   28 exhibits. (See, e.g., McCloud Depo Tr. at 136 (Jordan discipline letter – Trial

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    1 Exhibit 26), 155 (Imbrenda discipline letter – Trial Exhibit 27), 163 (Kahan
    2 discipline letter – Trial Exhibit 27).) Chief McCloud was then asked a series of
    3 questions taken straight out of the discipline letters. (See McCloud Depo. Tr. at
    4 136-167.) The deposition excerpts in Slides 4-6 come directly from that portion of
    5 Chief McCloud’s deposition—Slide 4 (148:12-16), Slide 5 (151:5-10, 151:21-25),
    6 and Slide 6 (152:8-11). They excerpt testimony by Chief McCloud about the
    7 Department’s findings and conclusions that were the basis for disciplining Captains
    8 Jordan, Imbrenda and Kahan. Plaintiffs included these same excerpts in their Notice
    9 of Designated Deposition Testimony for Chief McCloud, and Defendants have
   10 objected to them as irrelevant and inadmissible subsequent remedial measures.
   11 (Dkt. 347 at 85, 90-91.)
   12         This fits squarely within the remedial measures doctrine and Federal Rule of
   13 Evidence 407. Otherwise, parties could do an end run around the rule by seeking to
   14 introduce deposition testimony about disciplinary matters, as Plaintiffs seek to do
   15 here.
   16         As the chart below makes clear, the deposition testimony reflects language
   17 taken directly out of Captain Jordan’s disciplinary letter.
   18          Slide           Excerpted Testimony                     Jordan Disciplinary
                                                                           Letter
   19
                                                                     (Trial Exhibit 26)
   20          4             Q: So did the department’s             “As noted earlier, your
   21                  investigation conclude that        photos had no intel value or
   22                  Captain Jordan’s sharing of the    legitimate business purpose. . .”
   23                  photos with Captain Imbrenda
   24                  did not serve any legitimate
   25                  business purpose? Correct?
   26                        A: Yes.
   27
   28

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    1         Slide           Excerpted Testimony                    Jordan Disciplinary
                                                                         Letter
    2
                                                                   (Trial Exhibit 26)
    3         5             Q: So in addition to                 “Instead, such photographs
    4                 concluding that the photos          only served to appeal to the baser
    5                 served only to appeal to baser      instincts and desires for what
    6                 instincts and amounted to visual    amounted to visual gossip. . . .
    7                 gossip, the department also         your actions only eroded what
    8                 concluded that Captain Jordan’s     dignity remained of the Willow
    9                 actions eroded the dignity of the   incident. . . .”
   10                 access [phonetic] team; correct?
   11                       A: Yes.
   12                       Q: In other words, the
   13                 department concluded the –
   14                 Captain Jordan’s photos of the
   15                 victim’s remains offended the
   16                 dignity of the deceased and their
   17                 families; correct?
   18                       A; Yes.
   19         6             Q: The department                    “However, the Department
   20                 concluded that Captain Jordan’s     also considers the aggravating
   21                 actions showed a lack of regard     circumstances as well, the
   22                 for the privacy of the deceased     foremost of which was your
   23                 and their families; correct?        willingness to take photographs of
   24                       A: Yes.                       the fuselage and human remains
   25                                                     and then share them with a
   26                                                     colleague, without any
   27                                                     demonstrable regard for the public
   28

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    1          Slide           Excerpted Testimony                     Jordan Disciplinary
                                                                           Letter
    2
                                                                    (Trial Exhibit 26)
    3                                                      trust, or the dignity and privacy of
    4                                                      the deceased or their families.”
    5
    6 Plaintiffs’ Response:
    7         Contrary to Defendants’ objection, Federal Rule of Evidence 407 does not
    8 apply to the deposition testimony quoted in Slides 4-6, which is the testimony of
    9 LACFD’s 30(b)(6) deponent1 regarding the findings and conclusions of the Fire
   10 Department’s internal investigation. Thus, Rule 407 provides no basis to strike those
   11 slides from Plaintiffs’ opening statement. Defendants’ contrary arguments rest on a
   12 fundamental misapplication of Rule 407’s narrow exclusionary principle.
   13         Rule 407 prohibits evidence of subsequent measures “that would have made
   14 an earlier injury or harm less likely to occur” when admitted to prove “culpable
   15 conduct.” Fed. R. Evid. 407. “Rule 407 applies only to remedial measures actually
   16 taken by defendants. It does not apply to defendants’ internal investigations or
   17 reports created in the process of determining the appropriate remedial action.”
   18 (Lavoie Decl. Ex. A [August 5, 2022 Hearing Tr.] at 85:3-6 (quoting Hansen v.
   19 Werner Enterprises Inc., 2016 WL 7479349, at *4 (C.D. Cal. May 18, 2016).) Thus,
   20 as the Court explained in its ruling on Plaintiffs’ Motion in Limine No. 5, “internal
   21 investigations and findings from those investigations are not inadmissible under
   22 Rule 407.” (Lavoie Decl. Ex. A [August 5, 2022 Hearing Tr.] at 85:8-9].)
   23
   24   1
          Contrary to Defendants’ suggestion, Chief McCloud was designated to provide
   25   30(b)(6) testimony concerning the Department’s investigation and findings,
   26   including “All facts and details relating to any investigation or inquiry conducted by
        the FIRE DEPARTMENT or FIRE DEPARTMENT PERSONNEL regarding
   27   PHOTOS of the ACCIDENT SCENE or VICTIMS’ REMAINS, including but not
   28   limited to the findings of any such investigation or inquiry.”

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    1         The Ninth Circuit’s unpublished decision in Aguilar v. City of Los Angeles,
    2 853 F. App’x 92 (9th Cir. 2021), illustrates this principle. There, the Ninth Circuit
    3 held that the trial court erred in excluding the findings of LAPD’s investigation of
    4 an in-custody death. Id. at 95. It reasoned that “[i]f the LAPD findings had prompted
    5 disciplinary action, policy changes, or the like, then evidence of those subsequent
    6 remedial actions would have been inadmissible to prove culpable conduct. But the
    7 LAPD findings themselves were retrospective, not remedial; they assessed what
    8 happened and whether the officers’ actions were consistent with LAPD policy,
    9 without meting out discipline or changing LAPD policy.” Id.
   10         Similarly, in Aranda v. City of McMinnville, 942 F. Supp. 2d 1096 (D. Or.
   11 2013), the court admitted over a Rule 407 objection a police department’s “Use of
   12 Force Review” regarding an officer altercation. The Review analyzed the altercation
   13 using video and other evidence, describing “each stage of the encounter between the
   14 officers and [arrestee].” Id. at 1102. It found “that Heidt violated . . . Department
   15 policy by using more force than reasonably necessary,” among other violations, and
   16 “expressed concern about Heidt’s credibility based on discrepancies between his
   17 account of the events and the newly discovered video footage.” Id. The court found
   18 that the Review was not remedial because of the “distinction” between “the actual
   19 disciplining of officers for their conduct, which could constitute a remedial measure,
   20 and the investigation that precedes a disciplinary process.” Id. at 1104.
   21         The same reasoning applies to McCloud’s testimony quoted in Slides 4-6. In
   22 the deposition testimony on Slide 4, McCloud testified that LACFD’s investigation
   23 concluded that Jordan had no legitimate purpose for sharing photos. In Slide 5,
   24 McCloud testified to LACFD’s conclusion that Jordan’s actions offended the dignity
   25 of the deceased and their families. And in Slide 6, McCloud testified that LACFD
   26 concluded that Jordan’s actions evinced lack of respect for privacy. Like the
   27 investigative reports in Aguilar and Aranda, this testimony describes LACFD’s
   28 findings and conclusions about historical facts, without imposing or describing any

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    1 form of remedial action. The testimony describes “what happened and whether the
    2 officers’ actions were consistent with [LACFD] policy, without meting out
    3 discipline or changing [LACFD] policy.” Aguilar, 853 F. App’x at 95.
    4         Defendants argue that Chief McCloud’s testimony is inadmissible because his
    5 testimony describes factual findings that are also recounted in LACFD’s Notice of
    6 Intent to Discharge Jordan. Defendants do not cite a single case in which a court
    7 excluded testimony about an internal investigation under Rule 407 because those
    8 findings were incorporated into a disciplinary notice. This is because Rule 407 does
    9 not exclude a party’s investigatory findings merely because the party relied upon
   10 them in taking a remedial action. It excludes only the remedial action itself. See
   11 Aguilar, 853 F. App’x at 95 (explaining that “[i]f the LAPD findings had prompted
   12 disciplinary action, policy changes, or the like, then evidence of those subsequent
   13 remedial actions would have been inadmissible to prove culpable conduct” but the
   14 findings would be admissible); see also Prentiss & Carlisle Co. v. Koehring-
   15 Waterous Div. of Timberjack, Inc., 972 F.2d 6, 10 (1st Cir. 1992). (“The fact that the
   16 analysis may often result in remedial measures being taken (as occurred here) does
   17 not mean that evidence of the analysis may not be admitted.”); J.M. v. City of
   18 Milwaukee, 249 F. Supp. 3d 920, 932 (E.D. Wis. 2017) (“The remedial act—firing
   19 [the police officer]—is not inextricably intertwined with the investigation leading to
   20 that act, namely the determination in the Discharge Proceedings that his search was
   21 unreasonable.”). The mere fact that LACD incorporated its factual findings about
   22 Jordan’s past conduct into a letter of discipline does not render those findings
   23 inadmissible at trial. See Hansen, 2016 WL 7479349, at *4 (holding that findings of
   24 internal accident investigation were not subsequent remedial measures even though
   25 they resulted in remedial actions, including the termination of an employee).
   26         Nothing in the Court’s ruling on Plaintiffs’ Motion in Limine No. 5 suggests
   27 otherwise. In denying Plaintiffs’ motion to admit Jordan’s Notice of Discharge into
   28 evidence, the Court reasoned that the Notice itself “[was] disciplinary and part of the

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    1 disciplinary proceeding.” (Lavoie Decl. Ex. A [August 5, 2022 Hearing Tr.] at 86:1-
    2 2.) The document’s function—as stated on the face of the document itself—was to
    3 advise Jordan of LACFD’s intent to discharge him from LACFD’s service. (Id. at
    4 86:23-24 (“[T]he whole reason for drafting the letters was to impose discipline.”).)
    5 The Court found that redacting the portions of the Notice that referred to this
    6 disciplinary function was infeasible because “[e]ven with the proposed redactions,
    7 it’s clear to the Court and it will be clear to the jury that these letters -- that these are
    8 letters of discipline.” (Id. at 87:1-3.)
    9         Here, by contrast, the testimony from McCloud that is quoted in these slides
   10 does not say anything about remedial actions taken by LACFD. McCloud does not
   11 state in these slides that LACFD decided to discipline Jordan for his conduct. He
   12 does not say anything about the nature or extent of the discipline imposed. The
   13 testimony merely states LACFD’s conclusions about the past actions of one of its
   14 employees, which is admissible evidence not subject to Rule 407.
   15         For these reasons, Plaintiffs should be permitted to use Slides 4-6 in their
   16 opening statement.
   17 II.     DEFENDANTS’ OPENING STATEMENT
   18         A.     Defendants’ Slide 5
   19 Plaintiffs’ Objection:
   20         Defendants’ Slide 5 is misleading and misrepresents Mr. Chester’s deposition
   21 testimony. In this slide, Defendants use ellipses to eliminate key qualifying language
   22 from their deposition questions to Mr. Chester. When placed side-by-side, the
   23 misleading nature of Defendants’ edits is clear (bold underlining signifies material
   24 omitted through Defendants’ use of ellipses):
   25              Defendants’ Slide 5                       Chester Depo. Tr. 14:5-21
   26   Q: …[D]o you know of any public               Q: Okay. I’ll ask you about the bar.
   27   dissemination – newspaper, television,        I’m well aware of the bar and I’m
        Internet – of photos taken by personnel       well aware of the banquet.
   28

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    1   at the L.A. County Sheriff’s              Putting aside the bar and the
        Department? Yes or no.                    banquet, do you know of any public
    2
                                                  dissemination – newspaper, television,
    3   A: No.                                    Internet – of photos taken by personnel
                                                  at the L.A. County Sheriff’s
    4   Q: And I want to ask you the same
                                                  Department? Yes or no.
        question with respect to the L.A.
    5
        County Fire Department….[D]o you          A: No.
    6   know of any public dissemination,
    7   television, newspapers, Internet – any    Q: And I want to ask you the same
        public dissemination of photos taken of   question with respect to the L.A.
    8   the crash site by the…L.A. County Fire    County Fire Department.
    9   Department?
                                                  Putting aside the banquet, putting
   10   A: To date, no.                           aside the bar, which we are all well
                                                  aware of, do you know of any public
   11                                             dissemination, television, newspapers,
   12                                             Internet – any public dissemination of
                                                  photos taken of the crash site by the
   13                                             L.A. County Sher- -- LA County Fire
   14                                             Department?
   15                                             A: To date, no.
   16
   17        As the unedited testimony shows, Mr. Chester was testifying that he is
   18 unaware of public dissemination of graphic crash site photos other than the
   19 dissemination at the bar and the banquet—not that he is totally unaware of any
   20 public dissemination. Omitting the first portion of the question changes the meaning
   21 of both the question and Mr. Chester’s response. Defendants should not be permitted
   22 to use Slide 5 without quoting the entire question.
   23 Defendants’ Response:
   24        During his deposition, Mr. Chester unequivocally testified that he had no
   25 knowledge of any public dissemination via “television, newspapers, Internet” of
   26 photos taken by LASD and LACFD personnel. That is the testimony that is
   27 excerpted in Defendants’ Slide 5.
   28

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    1           Plaintiffs’ counsel contends that Slide 5 is misleading because it leaves out a
    2 portion of the question that says “[p]utting aside the bar and the banquet.” This
    3 qualifying language refers to the incidents involving Deputy Cruz at the bar in
    4 Norwalk and Captain Imbrenda at the Golden Mike Awards. There is no serious
    5 dispute about that.
    6           Nor can there be any serious dispute that these two incidents did not involve
    7 public dissemination of photos via television, newspaper, and the internet. That is
    8 what the deposition questions were asking about, and that is what Mr. Chester
    9 responded to. Therefore, removing this portion of the question from Slide 5 is not
   10 misleading at all. Mr. Chester’s answer would not have changed whether or not the
   11 qualifying language was in the questions.
   12           B.     Defendants’ Slide 15
   13 Plaintiffs’ Objection:
   14           Defendants’ Slide 15 contains an embedded excerpt from Exhibit 677, which
   15 Plaintiffs have objected to on grounds of late disclosure. (See Dkt. 304; Dkt. 376.)
   16 Plaintiffs object to the inclusion of that excerpt in Defendants’ opening for the same
   17 reasons that the document should not be introduced in evidence at trial. Defendants
   18 should not be permitted to show the jury in opening a document that is inadmissible
   19 at trial.
   20           Exhibit 677 is one of seven policy and training documents2 that Defendants
   21 failed to disclose in their Rule 26 disclosures, never produced during discovery, and
   22 never discussed in Defendants’ interrogatory response regarding relevant policies
   23 and trainings. Instead, Exhibit 677 was produced for the first time on June 9, 2022—
   24 seven months after the discovery cutoff. As a result, Plaintiffs were deprived of an
   25 opportunity to examine Defendants’ witness about this document in deposition,
   26 including Defendants’ 30(b)(6) witness devoted to policies and training (who is on
   27
        2
   28       Exhibits 676, 681, 682, 683, 686, and 687.

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    1 Defendants’ witness list to testify about this topic at trial). (See Dkt. 371 at 38
    2 (identifying Captain Mark Flores as witness who will testify for defense about
    3 policies and training at trial).) If this policy and training document were so central to
    4 Defendants’ case that it merits displaying to the jury in opening, there is obviously
    5 no excuse for failing to produce it during a full year of discovery. Defendants should
    6 not be allowed to tout a policy or training document to show the absence of
    7 deliberate indifference and force Plaintiffs to examine Defendants’ witnesses
    8 completely cold on that document, without the benefit of a prior deposition. Nor
    9 should they be able to use that late-produced document in their opening statement.
   10         Federal Rule of Civil Procedure 37(c)(1) provides that when a party “fails to
   11 provide information or identify a witness as required by Rule 26(a) or (e), the party
   12 is not allowed to use that information or witness to supply evidence on a motion, at
   13 a hearing, or at a trial, unless the failure was substantially justified or is harmless.”
   14 Fed. R. Civ. P. 37(c)(1). This exclusion sanction is “self-executing” and “automatic”
   15 unless the party seeking to avoid exclusion demonstrates that the failure was
   16 substantially justified or harmless. See Goodman v. Staples The Office Superstore,
   17 LLC, 644 F.3d 817, 827 (9th Cir. 2011). Defendants cannot demonstrate that their
   18 failure to timely produce Exhibit 677 was substantially justified or harmless.
   19         First, Defendants’ failure to timely produce Exhibit 677 was not substantially
   20 justified. Defendants’ Rule 26 disclosures did not reference Exhibit 677, either
   21 specifically or by category. Rather, Defendants listed only the following five
   22 specific categories of documents: (1) the Internal Affairs Bureau Investigative
   23 report; (2) citizens’ complaint(s) regarding potential sharing of accident site
   24 photographs; (3) transcripts of interviews in connection with Internal Affairs Bureau
   25 Investigation; (4) accident site photographs; and (5) autopsy reports and
   26 photographs.
   27         Moreover, Plaintiff propounded numerous discovery requests regarding
   28 Defendants’ policies and training, including requests for all documents relating to

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    1 (1) any training of Sheriff’s Department or Fire Department personnel regarding
    2 treatment or handling of human remains, including the taking or sharing of photos of
    3 human remains; and (2) any federal constitutional right of individuals to control the
    4 death images and/or physical remains of deceased family members. Plaintiff also
    5 served an interrogatory requiring Defendants to “identify and describe all training
    6 that Sheriff’s Department personnel were required to receive between May 29, 2012
    7 and January 26, 2020 relating to the taking or sharing of photos of human remains.”
    8         Despite Defendants’ Rule 26 disclosure obligations and Plaintiff’s discovery
    9 requests, Defendants never produced Exhibit 677 before adding it (and the other
   10 policy and training documents) to the exhibit list on June 9, 2022—more than six
   11 months after the discovery cutoff. It is no answer that the late-produced documents
   12 have been publicly available. This argument has rightly been rejected by several
   13 courts. In Deutsche Bank Nat’l Tr. Co. v. Seven Hills Master Cmty. Ass’n, 2016 WL
   14 1639885, at *2 (D. Nev. Apr. 25, 2016), the court explained: “[Defendant’s]
   15 argument that these documents were publicly available is misguided, as the public
   16 availability of the documents did not place Plaintiff on notice that [Defendant]
   17 would seek to use them in the instant case. . . . The documents’ public availability is
   18 inapposite.” Similarly, in Low v. Trump Univ., LLC, 2016 WL 6732110, at *8 (S.D.
   19 Cal. Nov. 15, 2016), the court held: “Although a number of these [untimely
   20 disclosed] exhibits were identified as publicly available by Defendants, the fact that
   21 exhibits were publicly available does not justify Defendants’ untimely disclosure.”
   22 It is not Plaintiffs’ burden to scour the Internet for information that Defendants
   23 might conceivably use in litigation. Instead, by rule, the burden is on Defendants to
   24 affirmatively identify documents that are responsive to discovery requests and/or
   25 that they intend to use at trial. Defendants failed to carry that burden here.
   26         Second, Defendants cannot show harmlessness. Defendants’ training and
   27 policies are central to this case. That is precisely why Plaintiff sought documents
   28 and information related to them in her requests for production and interrogatories.

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    1 Defendants’ untimely disclosure and production has plainly harmed Plaintiff. As
    2 just one example, Plaintiff took 30(b)(6) depositions of the Sheriff’s and Fire
    3 Departments about their policies and trainings but was unable to inquire about these
    4 documents because they were not produced or disclosed. Courts have previously
    5 found harm under this exact scenario. See Van Daele Dev. Corp. v. Steadfast Ins.
    6 Co., 2014 WL 12564277, at *4 (C.D. Cal. Oct. 9, 2014) (finding that late disclosure
    7 was not harmless where disclosure was made after close of discovery and therefore
    8 party could not question rule 30(b)(6) witness about document).
    9         Additionally, many of the late-produced training and policy documents are
   10 undated, and it is unclear when the policies and trainings were instituted and
   11 whether they were used with (or taught to) any of the deputies or firefighters
   12 involved in this case. Indeed, Exhibit 677 is dated October 28, 2021—well after the
   13 events that give rise to this lawsuit. Given that discovery has closed, Plaintiffs have
   14 no tools to obtain answers to these questions. Presumably, Defendants intend their
   15 witnesses to tout Exhibit 677 and the other newly-produced policies and training
   16 materials at trial in defense of Plaintiffs’ Monell claims. If they are not excluded,
   17 Plaintiffs would be forced to cross-examine these witnesses completely blind,
   18 having never had the opportunity to depose them regarding the materials.
   19         In sum, Defendants lack any substantial justification for failing to timely
   20 disclose Exhibit 677 to Plaintiffs, and their untimeliness is prejudicial to Plaintiffs’
   21 case. Exhibit 677 should not come into evidence and should not be displayed to
   22 jurors during Defendants’ opening statement.
   23 Defendants’ Response:
   24         Slide 15 contains an excerpt from the LACFD’s Code of Ethics. Plaintiffs
   25 object to this slide on the ground that Defendants did not produce the Code of Ethics
   26 during discovery. Plaintiffs’ objection is meritless.
   27         First, Plaintiffs should not be permitted to argue that the County lacks
   28 adequate training and policies by preventing jurors from seeing the trainings and

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    1 policies that are directly related to their claims.
    2         Second, did produce the pertinent parts of the Code of Ethics. The Code of
    3 Ethics were quoted in relevant part in the disciplinary letters that were produced to
    4 Plaintiffs during discovery. Plaintiffs deposed LACFD personnel, including Chief
    5 McCloud, Captain Imbrenda and Captain Jordan, extensively about these
    6 disciplinary letters. Plaintiffs thus had plenty of notice about the existence of the
    7 Code of Ethics. They will not be prejudiced by the admission of the Code of Ethics
    8 as a trial exhibit and the use of it in Defendants’ opening statement.
    9         Third, Plaintiffs spend a significant time arguing about other training and
   10 policy documents that were not purportedly produced on time. These documents are
   11 not at issue in Defendants’ opening slides and have been fully briefed by the parties
   12 in their Joint Statement regarding Objections to Exhibits. (See Dkt. 327 at 65-74.)
   13 In sum, all of these other documents were publicly available or have already been
   14 disclosed to Plaintiff. Documents are only subject to the duty to disclose under Rule
   15 26(a)(1)(A)(ii) and the duty to produce under Rule 34(a)(1) if they are in the
   16 producing party’s “possession, custody, or control.” Fed. R. Civ. P. 26(a)(1)(A)(ii);
   17 34(a)(1). “[A] party is not in ‘control’ of records that the requesting party has equal
   18 ability to obtain from public sources.” Diaz v. Cnty. of Ventura, 512 F. Supp. 3d
   19 1030, 1035 (C.D. Cal. 2021) (alteration in original) (quoting Rutter Group Prac.
   20 Guide, Fed. Civ. Pro. Before Trial, Ch. 11(IV)-C).
   21         Any failure to disclose public records is harmless and thus not subject to
   22 exclusion. Fed. R. Civ. P. 37(c)(1); see Cmtys. Actively Living Indep. & Free v. City
   23 of Los Angeles, 2011 WL 4595993 (C.D. Cal. Feb. 10, 2011) (“The Court finds that
   24 the City’s failure to disclose the Federal Emergency Management Agency
   25 (“FEMA”) Comprehensive Preparedness Guide 101 is harmless because it is a
   26 publicly available planning document.”); Diaz, 512 F. Supp. 3d at 1035 (failure to
   27 disclose harmless “because the videos are publicly available”).
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                            JOINT STATEMENT RE: OPENING STATEMENTS
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    1                                FILER ATTESTATION
    2        I, Luis Li, attest under Local Rule 5-4.3.4(a)(2)(i) that all other signatories
    3 listed, and on whose behalf the filing is submitted, concur in the filing’s content and
    4 have authorized this filing.
    5
    6   Dated: August 9, 2022                                      /s/ Luis Li
                                                                     Luis Li
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